                             UNITED STATES DISTRICT COURT                  Motion GRANTED.
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

                                              )
UNITED STATES OF AMERICA                      )
                                              )      No. 3:16-cr-00162
v.                                            )      JUDGE TRAUGER
                                              )
JAMES C. MCWHORTER                            )
                                              )


                GOVERNMENT’S MOTION FOR LEAVE TO FILE LATE
                  SENTENCING POSITION AND MEMORANDUM

       The United States of America, by and through S. Carran Daughtrey, Assistant United States

Attorney for the Middle District of Tennessee, hereby requests that this Court allow the United

States to file late a Sentencing Position and Sentencing Memorandum in this case.

                                                             Respectfully submitted,

                                                             DAVID RIVERA
                                                             United States Attorney for the
                                                             Middle District of Tennessee

                                                             /s/ S. Carran Daughtrey
                                                             S. Carran Daughtrey
                                                             Assistant United States Attorney
                                                             A-961 U.S. Courthouse
                                                             110 Ninth Avenue South
                                                             Nashville, Tennessee 37203
                                                             Telephone: (615) 736-5151


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served electronically
on Michael C. Holley, Assistant Federal Public Defender, attorney for defendant, on this, the 15th
day of December, 2016.

                                                             /s/ S. Carran Daughtrey
                                                             S. Carran Daughtrey




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